                             EXHIBIT 19




Case 3:18-cv-01234 Document 201-19 Filed 04/13/22 Page 1 of 17 PageID #: 12297
           From: Ariel Evans <Ariel.Evans@tn.gov>
              To: Debbie Inglis <Debbie.Inglis@tn.gov>, "Bo C. Irvin" <Bo.C.Irvin@tn.gov>, "Tony I.
                  Mays" <Tony.I.Mays@tn.gov>, Jane Lovell <Jane.Lovell@tn.gov>, "Kelly Young"
                  <Kelly.Young@tn.gov>, Zach Lebarts <Zach.Lebarts@tn.gov>
             Cc: Priscilla Wainwright <Priscilla.Wainwright@tn.gov>, Leni Chick <Leni.Chick@tn.gov>,
                  "Lisa C. Parks" <Lisa.C.Parks@tn.gov>, Ashraf Gabous <Ashraf.Gabous@tn.gov>,
                  Carolyn Fiedler <Carolyn.Fiedler@tn.gov>
         Subject: [CONFIDENTIAL] ERS Delegated Authority FY22
            Date: 2021-04-23 09:31:52 -0500
    Importance: High
   Attachments: ERS_DA_FY2022.pdf
  Inline-Images: image001.png; image002.png


Good Morning,

The Delegated Authority for Execution Related Services has been approved and executed for FY22. Please
retain this copy for your records.

Regards,




Ariel Evans, CPM |Contracts Administration
3rd Floor Rachel Jackson Building
320 6th Avenue North, Nashville, TN 37243
p. 615-253-8106 f. 615-741-8513 c. 615-347-6329
ariel.evans@tn.gov
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www.facebook.com/TNDepartmentofCorrection
https://twitter.com/TNTDOC1
https://www.youtube.com/TNTDOC1




       Case 3:18-cv-01234 Document 201-19 Filed 04/13/22 Page 2 of 17 PageID #: 12298
                                                                       Defts. Supp. Resp. 02.14.2022_002890
           From: Ariel Evans <Ariel.Evans@tn.gov>
              To: "Lisa C. Parks" <Lisa.C.Parks@tn.gov>, Debbie Inglis <Debbie.Inglis@tn.gov>
             Cc: Kelly Young <Kelly.Young@tn.gov>, Priscilla Wainwright
                  <Priscilla.Wainwright@tn.gov>, Leni Chick <Leni.Chick@tn.gov>, Ashraf Gabous
                  <Ashraf.Gabous@tn.gov>
         Subject: Delegated Authority (FY22)
            Date: 2021-04-09 10:53:15 -0500
    Importance: Normal
   Attachments: ERS_DA_FY2022.pdf; 32901-
                  31272_Delegated_Authority_Indigent_Transportation_Services_FY22.pdf; 32901-
                  31271_Delegated_Authority_SOTB_(FY2022).pdf
  Inline-Images: image001.png; image002.png


Good Morning Acting CFO Parks & DC Inglis,

Attached are the Delegated Authority documents for FY22 for approval. Acting CFO Parks, your signature on
the budget box on the cover page is needed. The following delegated authorities are attached:

Sex Offender Treatment Services
Indigent Offender Transportation
Execution Related Services

Regards,




Ariel Evans, CPM |Contracts Administration
3rd Floor Rachel Jackson Building
320 6th Avenue North, Nashville, TN 37243
p. 615-253-8106 f. 615-741-8513 c. 615-347-6329
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Agency Trackin. #                 Edison ID                   Effective Date            End Date

                                                                         July 1, 2021            June 30, 2022

Edison ID of prior, similar document (if any)                                                           65328
Service Caption

     Execution Related Services
Funding —
                                                                                          TOTAL Maximum
FY              State              Federal           Interdepartmental    Other           Liability

     2022           $400,000.00                                                                    $400,000.00


TOTAL:              $400,000.00                                                                    $400,000.00


Budget Officer Confirmation: There is a balance in the                            CPO USE — DA
appropriation from which obligations hereunder are required
to be paid that is not already encumbered to pay other
obligations.




Speed Chart (optional)            Account Code (optional)




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                                                                                  Defts. Supp. Resp. 02.14.2022_002906
                                              DELEGATED AUTHORITY

     This Delegated Authority ("DA") application, if approved in accordance with Central Procurement
     Office ("CPO") rules, policies, and procedures, shall authorize the applicant state agency ("State
     Agency") to purchase goods or services or execute contracts for the specified program without
     individual, independent approval, PROVIDED THAT all purchases and executed contracts
     comply with CPO rules, policies and procedures, and are within the limits, guidelines, and
     conditions of this DA. All purchases under an approved DA shall be made using purchase orders
     in compliance with CPO Policy 2013-004, Section 4.3.2. Where a contract is required under
     Policy 2013-004, Section 4.3.2., the State Agency shall attach a copy of the proposed contract
     that will be used under the DA. If the proposed contract includes modifications or additions to the
     CPO's contract templates or models, the State Agency shall redline the modifications or additions
     and include the redlined document as an attachment. An approved RER is required when the
     proposed contract involves modifications or additions to a template.


Contracting Agency:                    Tennessee Department of Correction

Subject Program:                       Execution Related Services

A.         What is the purpose of this DA, and why is it necessary?
           The Department of Correction has the responsibility for carrying out court-ordered
           executions as specified in TCA §§40-23-114, 40-23-115, and 40-23-116. The purpose of
           the authority is to procure services required to carry out court-ordered executions.
           Further reference is made to TCA 10-7-504(h)(1). Execution dates may be set by courts
           without much notice after an inmate has exhausted all appeals. Therefore, it is not
           possible to determine.

B.         What is the Maximum Liability of the DA? The Maximum Liability shall
           not exceed ten million dollars ($10,000,000) without an approved RER.                              $ 400,000.00

C.         A purchase order is appropriate when the goods or services will be provided within
           ninety (90) days or less or represent a single transaction, as provided in CPO Policy
           2013-004, Section 4.3.2.
           What is the Maximum Liability of a purchase order to be submitted or
           contract to be executed under this DA? The Maximum Liability of a
           purchase order or contract shall not exceed five million dollars
           ($5,000,000) without an approved RER.                                                              $ 150,000.00

D.         What is the maximum number of individual contracts to be executed
           under this DA? If the proposed number of contracts is five (5) or
           fewer, provide a justification for why a DA is appropriate.                                                         1

E.         What is the maximum term of an individual contract to be executed
           under this DA? The term of any individual contract cannot extend beyond the
           approved DA's end date. An approved DA may remain in force and effect for up to
           twelve (12) months unless an approved Rule Exception Request for the DA or DG
           templates is obtained.                                                                               12 months

F.         Under CPO Policy 2013-004, Section 4.3.2, a purchase order is appropriate when goods or services will be provided
           within ninety (90) days or less. The State Agency certification for contracts is in Section G.
           State Agency certification for purchases:
           1. The requesting State Agency certifies that each of the following is true and applicable:
                a) The need for goods or services is sporadic, and an advance determination of the
                      volume, delivery, or exact costs of goods or services needed is not possible;
                b) It is impractical to award one or more fee-for-service contracts for the category of
                      goods or services needed with compensation based upon unit or milestone rates;
                c) The program needs and general categories of goods or services are such that
                      adequate guidelines can be developed to direct the State Agency in competitively
                      making each purchase;
                d) All goods or services purchased can be delivered or performed in ninety (90) days or

                                                                                                                               1
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                                                                                         Defts. Supp. Resp. 02.14.2022_002907
                  fewer or represent a single transaction, as provided in CPO Policy 2013-004, Section
                  4.3.2;
             e)   The procurement terms, conditions, and criteria to be followed by the agency in
                  making each purchase will be of such uniformity that the Central Procurement
                  Office's individual, independent, and prior approval of each purchase is unnecessary;
             f)   The purchases involved will be of such uniformity, volume, and pressing need that the
                  individual approval of each purchase by the Central Procurement Office is
                  impractical; and
             g)   The State Agency staff has made appropriate and justified inquiries and assured the
                  validity and justification of the maximum amounts in this DA application.
        2.   The summary cover sheet correctly records the requested delegated authority period in
             which every purchase must be made. Delivery may occur after the period.
        3.   The State Agency will limit purchases to the goods or services and associated maximum
             payment rates for each line item detailed in Attachment 1.
        4.   The State Agency shall make each purchase:
             a) In strict accordance with the pre-defined, competitive process detailed in Attachment
                 3; and
             b) Using the purchase order document designated by the Central Procurement Office.
        5.   The State Agency shall ensure that every purchase made under the DA:
             a) Has sufficient funds budgeted and available:
             b) Complies with: Tennessee laws and regulations; Central Procurement Office rules,
                 policies and procedures; program rules, policies and procedures; and any federal
                 laws, rules, regulations, or requirements;
             c) Creates a "contractor" relationship as defined in the US O.M.B.'s Uniform
                 Administrative Requirements, Cost Principles, and Audit Requirements for Federal
                 Awards;
             d) Shall not create an employer/employee relationship as prohibited by Tenn. R. & Regs.
                 § 0690-03-01-.17;
             e) Shall not involve the procurement of goods, materials, supplies, equipment, or
                 services EXCEPT as provided in this DA; and
             f) Shall not provide for the payment of any amount directly or indirectly to an employee
                 or official of the state of Tennessee.
        6.   The State Agency will require the following documentation prior to payment for any
             purchase:
             a) a copy of the CPO's designated purchase order document signed by the State Agency
                 and the Vendor; and
             b) A certification that the contractor selection process detailed in Attachment 3 was
                 followed and the requested goods or services were delivered and accepted.
        7.   The State Agency shall retain records to document that all purchases have been made in
             accordance with the limits, guidelines, and conditions specified in this DA.
        8.   The State Agency shall provide all such reports and information relating to the purchases
             made under the approved DA as may be requested by state officials.


G.      Under CPO Policy 2013-004, Section 4.3.2, a contract shall be executed if goods or services cannot be provided
        within ninety (90) days.

        State Agency certification for contracts:
        1.   The requesting State Agency certifies that each of the following is true and applicable:
             a)   The program needs and general categories of services are such that adequate
                  guidelines can be developed to direct the State Agency in competitively executing a
                  number of similar contracts;
             b)   The individual contracts involved will be of such uniformity and standardization of
                  processes, procedures, and contract terms that individual, independent, and prior
                  approval is unnecessary and impractical; and
             c)   All individual contracts executed will create a "contractor" relationship as defined in
                  Central Procurement Office Policy 2013-007.
        2.   The summary cover sheet correctly records the requested delegated authority period in


                                                                                                                         2
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                                                                                    Defts. Supp. Resp. 02.14.2022_002908
             which every contract must begin.
        3.   The State Agency will draft each contract either with the exact scope of services ("Scope")
             detailed in Attachment 2 or using a combination of the provisions detailed in Attachment
             2. In no event shall the Scope contain provisions that do not appear in Attachment 2. The
             State agency will draft each contract in compliance with the appropriate contract
             templates and models in effect at the time that each contract is drafted. Each contract
             must include a completed summary cover sheet attached at the front of each copy.
        4.   The State Agency will select contractors in strict accordance with the pre-defined,
             competitive process detailed in Attachment 3.
        5.   The State Agency will ensure that every contract entered into under this DA:
             a)   Has sufficient funds budgeted and available;
             b)   Complies with: Tennessee laws and regulations; Central Procurement Office rules and
                  policies; program policies, rules, and regulations; and any federal laws, rules,
                  regulations, and requirements;
             c)   Shall not create an employer/employee relationship as prohibited by Tenn. R. & Regs.
                  § 0690-03-01-.17;
             d)   Shall not procure goods, materials, supplies, equipment, or services EXCEPT as
                  provided in this DA; and
             e)   Shall not provide for the payment of any amount directly or indirectly to an employee
                  or official of the State.
        6.   The State Agency will retain records to document that every contract has been executed
             in accordance with the limits, guidelines, and conditions specified in this DA.
        7.   The State Agency will provide all such reports and information relating to the executed
             contracts under this DA as may be requested by state officials.
        8.   The State Agency shall attach a copy of the proposed contract(s) that will be used under
             the DA. If the proposed contract or contracts include modifications or additions to
             contract templates or models, redline the modifications or additions in the attachment(s)
             and include an approved Rule Exception Request ("RER").


        IN WITNESS WHEREOF, and by signature below, I certify that all information in this DA
        is, to the best of my knowledge, accurate and represents the limits, guidelines,
        conditions, and procedures that the State Agency shall follow in making each purchase
        or executing each contract.




        Tony Parker, Commissioner                                       Date




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                                                                         Defts. Supp. Resp. 02.14.2022_002909
                                                                                        ATTACHMENT 1


       AUTHORIZED PURCHASE OF GOODS OR SERVICES & MAXIMUM RATE SCHEDULE

    The rates below are maximum rates allowed, NOT standard or set rates (unless based upon federal
    government or TennCare set rates). The State Agency is encouraged to buy goods or services at
    lower rates than those below. All purchases under this DA shall comply with the vendor selection
    procedures specified in Attachment 3.



                 Good or Service                                        Maximum Rate
Travel Compensation/Reimbursement                     This Delegated Authority shall NOT authorize
(relating to authorized service delivery)             payment or reimbursement of a contractor's
                                                      travel expenses to the site where goods are
                                                      delivered or services are provided. If the State
                                                      requires that the contractor travel somewhere
                                                      other than the site where goods are delivered or
                                                      services are performed, reimbursement shall be
                                                      subject to amounts and limitations specified in
                                                      the current "State Comprehensive Travel
                                                      Regulations." Only necessary expenses
                                                      incurred away from and back to the site where
                                                      goods are delivered or services are performed
                                                      shall be reimbursable.
                                                      Note: This does NOT apply to any travel
                                                      reimbursements paid to state clients (which
                                                      may be provided for in this schedule).

Electrical Services (includes maintenance,
inspection, calibration, and testing of chair)                                  $5,000.00 per execution

Execution Security Consultation                                                 $2,500.00 per execution

Physician Fee                                                                   $3,000.00 per execution

Pharmacological Services                                                       $62,000.00 per execution

Medical Supply Vendor                                                                 $5,000.00 annually

Paramedic Services                                                              $3,000.00 per execution

Emergency Medical Technician (EMT) monthly
on-site training                                                                     $9,0000.00 annually

Media Tent Rental                                                               $1,000.00 per execution

Portable Lighting Rental                                                          $11,000 per execution

Diesel Fuel for Portable Lights                                                 $1,200.00 per execution

Portable Toilet Rental                                                          $1,000.00 per execution

Medical Supplies                                                                $1,000.00 per execution

Execution Related Supplies                                                           $10,000.00 annually

Meal Costs for Operational & Security Staff on
duty day of execution                                                           $3,000.00 per execution

                                                                                                       4
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                                                                         Defts. Supp. Resp. 02.14.2022_002910
                                                                                             ATTACHMENT 2


                                CONTRACT SCOPE OF SERVICES TEXT

Insert the scope of services ("Scope") that will be used in executed contracts or identify all provisions that
will possibly appear in the Scope. If all contracts will contain the same Scope, note that below and include
the Scope in the pro forma contract attached to the DA application. There is no need to provide the Scope in
this Attachment and in the pro forma contract. If there will be a menu of scopes, identify all provisions that
will possibly appear in the Scope in this Attachment. Then leave the Scope and Section C.3.b of the pro
forma contract blank.
The Scope describes the services and deliverables that contractors must provide. It must specify all
associated functional and technical requirements. The State Agency may include payment terms outside of
Section C with an approved Rule Exception Request.
The State Agency head or designee signifies by signing this DA that all information in this DA is, to the best
of his or her knowledge, accurate and represents the limits, guidelines, conditions, and procedures that the
State Agency shall follow in executing each contract.

Scope (Contract section A)                                                    Cost (Contract section C.3.b)

Deliverable 1                                                                 $ / unit

Deliverable 2                                                                 $ / unit




                                                                                                                 5
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                                                                            Defts. Supp. Resp. 02.14.2022_002911
                                                                                       ATTACHMENT 3


  PRE-DEFINED VENDOR OR CONTRACTOR SELECTION PROCESS AND CONTRACT MAXIMUM
                   LIABILITY AMOUNT DETERMINATION PROCESS

    The State Agency shall select vendors or contractors in strict accordance with the pre-defined,
    competitive or otherwise approved process described below. Any selection process authorized by
    CPO rules, policies, or manuals is acceptable, though some processes will require additional
    documentation or approvals. The State Agency shall retain records to show the basis of each
    purchase made or each contract executed under this Delegated Authority, including documentation
    that each purchase or contract was made in accordance with the processes below.


The issue of capital punishment is one that often evokes strong feelings. Persons who are
involved in the process of carrying out a death sentence may potentially be subject to harassment,
retaliation, and stigma, making it difficult to obtain necessary services. Some suppliers have
refused to sell goods or services to corrections departments knowing they will be used in an
execution. The controversial nature of the task itself makes it crucial that the Warden have the
utmost confidence in each person on the execution team. For these reasons, competitive
procurement processes are inappropriate for obtaining the services required for an execution.
Persons providing services during an execution are selected by the Warden based upon criteria
including length of service, ability to maintain confidentiality, maturity, willingness to participate,
satisfactory work performance, professionalism, recommendations to the Warden, and review of
personnel files. Payment is verbally negotiated at the time of the person's selection to be a
member of the execution team.
As to pharmacological services, the specific drugs used in a lethal injection execution are
established in the Department's execution manual. Some come in a kit and must be mixed shortly
before use. The manual contains detailed instructions on the preparation of the drugs based
upon specific packaging, volume and concentration. To ensure that the drugs are consistently
obtained in the same volume and concentration and same packaging that the instructions are
based upon, the Department purchases the drugs from the same vendor each time. The current
vendor was chosen after several potential sources were contacted and no other vendor could
provide the required services.
The processes described above are consistent with the testimony presented in a recent challenge
to the State's lethal injection protocol. Based on that record, the U.S. Court of Appeals for the
Sixth Circuit held that the State's protocol does not violate the 8th Amendment. See Harbison v.
Little, 571 F.3d 531 (6th Cir. 2009). Changes to these processes may provide new avenues of
litigation and delays in executions. It may also adversely affect the Department's ability to
procure the required services.




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Agency Tracking #                   Edison ID                   Effective Date             End Date

                                                                            July 1, 2021           June 30, 2022

Edison ID of prior, similar document (if any)                                                             65328

 Service Caption

     Execution Related Services
Funding —
                                                                                            TOTAL Maximum
FY              State                Federal            Interdepartmental   Other           Liability

     2022            $400,000.00                                                                      $400,000.00


 TOTAL:              $400,000.00                                                                      $400,000.00


Budget Officer Confirmation: There is a balance in the                              CPO USE — DA
appropriation from which obligations hereunder are required
to be paid that is not already encumbered to pay other
obligations.
                                   Digitally signed by Lisa
  yy tm..0 R i d„,„,„              Parks
                                   Date: 2021.04.09
                                   12:39:35 -05'00'

Speed Chart (optional)              Account Code (optional)




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                                                                                    Defts. Supp. Resp. 02.14.2022_002913
                                              DELEGATED AUTHORITY

     This Delegated Authority ("DA") application, if approved in accordance with Central Procurement
     Office ("CPO") rules, policies, and procedures, shall authorize the applicant state agency ("State
     Agency") to purchase goods or services or execute contracts for the specified program without
     individual, independent approval, PROVIDED THAT all purchases and executed contracts
     comply with CPO rules, policies and procedures, and are within the limits, guidelines, and
     conditions of this DA. All purchases under an approved DA shall be made using purchase orders
     in compliance with CPO Policy 2013-004, Section 4.3.2. Where a contract is required under
     Policy 2013-004, Section 4.3.2., the State Agency shall attach a copy of the proposed contract
     that will be used under the DA. If the proposed contract includes modifications or additions to the
     CPO's contract templates or models, the State Agency shall redline the modifications or additions
     and include the redlined document as an attachment. An approved RER is required when the
     proposed contract involves modifications or additions to a template.


Contracting Agency:                    Tennessee Department of Correction

Subject Program:                       Execution Related Services

A.         What is the purpose of this DA, and why is it necessary?
           The Department of Correction has the responsibility for carrying out court-ordered
           executions as specified in TCA §§40-23-114, 40-23-115, and 40-23-116. The purpose of
           the authority is to procure services required to carry out court-ordered executions.
           Further reference is made to TCA 10-7-504(h)(1). Execution dates may be set by courts
           without much notice after an inmate has exhausted all appeals. Therefore, it is not
           possible to determine.

B.         What is the Maximum Liability of the DA? The Maximum Liability shall
           not exceed ten million dollars ($10,000,000) without an approved RER.                              $ 400,000.00

C.         A purchase order is appropriate when the goods or services will be provided within
           ninety (90) days or less or represent a single transaction, as provided in CPO Policy
           2013-004, Section 4.3.2.
           What is the Maximum Liability of a purchase order to be submitted or
           contract to be executed under this DA? The Maximum Liability of a
           purchase order or contract shall not exceed five million dollars
           ($5,000,000) without an approved RER.                                                              $ 150,000.00

D.         What is the maximum number of individual contracts to be executed
           under this DA? If the proposed number of contracts is five (5) or
           fewer, provide a justification for why a DA is appropriate.                                                         1

E.         What is the maximum term of an individual contract to be executed
           under this DA? The term of any individual contract cannot extend beyond the
           approved DA's end date. An approved DA may remain in force and effect for up to
           twelve (12) months unless an approved Rule Exception Request for the DA or DG
           templates is obtained.                                                                               12 months

F.         Under CPO Policy 2013-004, Section 4.3.2, a purchase order is appropriate when goods or services will be provided
           within ninety (90) days or less. The State Agency certification for contracts is in Section G.
           State Agency certification for purchases:
           1. The requesting State Agency certifies that each of the following is true and applicable:
                a) The need for goods or services is sporadic, and an advance determination of the
                      volume, delivery, or exact costs of goods or services needed is not possible;
                b) It is impractical to award one or more fee-for-service contracts for the category of
                      goods or services needed with compensation based upon unit or milestone rates;
                c) The program needs and general categories of goods or services are such that
                      adequate guidelines can be developed to direct the State Agency in competitively
                      making each purchase;
                d) All goods or services purchased can be delivered or performed in ninety (90) days or

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                                                                                         Defts. Supp. Resp. 02.14.2022_002914
                  fewer or represent a single transaction, as provided in CPO Policy 2013-004, Section
                  4.3.2;
             e)   The procurement terms, conditions, and criteria to be followed by the agency in
                  making each purchase will be of such uniformity that the Central Procurement
                  Office's individual, independent, and prior approval of each purchase is unnecessary;
             f)   The purchases involved will be of such uniformity, volume, and pressing need that the
                  individual approval of each purchase by the Central Procurement Office is
                  impractical; and
             g)   The State Agency staff has made appropriate and justified inquiries and assured the
                  validity and justification of the maximum amounts in this DA application.
        2.   The summary cover sheet correctly records the requested delegated authority period in
             which every purchase must be made. Delivery may occur after the period.
        3.   The State Agency will limit purchases to the goods or services and associated maximum
             payment rates for each line item detailed in Attachment 1.
        4.   The State Agency shall make each purchase:
             a) In strict accordance with the pre-defined, competitive process detailed in Attachment
                 3; and
             b) Using the purchase order document designated by the Central Procurement Office.
        5.   The State Agency shall ensure that every purchase made under the DA:
             a) Has sufficient funds budgeted and available:
             b) Complies with: Tennessee laws and regulations; Central Procurement Office rules,
                 policies and procedures; program rules, policies and procedures; and any federal
                 laws, rules, regulations, or requirements;
             c) Creates a "contractor" relationship as defined in the US O.M.B.'s Uniform
                 Administrative Requirements, Cost Principles, and Audit Requirements for Federal
                 Awards;
             d) Shall not create an employer/employee relationship as prohibited by Tenn. R. & Regs.
                 § 0690-03-01-.17;
             e) Shall not involve the procurement of goods, materials, supplies, equipment, or
                 services EXCEPT as provided in this DA; and
             f) Shall not provide for the payment of any amount directly or indirectly to an employee
                 or official of the state of Tennessee.
        6.   The State Agency will require the following documentation prior to payment for any
             purchase:
             a) a copy of the CPO's designated purchase order document signed by the State Agency
                 and the Vendor; and
             b) A certification that the contractor selection process detailed in Attachment 3 was
                 followed and the requested goods or services were delivered and accepted.
        7.   The State Agency shall retain records to document that all purchases have been made in
             accordance with the limits, guidelines, and conditions specified in this DA.
        8.   The State Agency shall provide all such reports and information relating to the purchases
             made under the approved DA as may be requested by state officials.


G.      Under CPO Policy 2013-004, Section 4.3.2, a contract shall be executed if goods or services cannot be provided
        within ninety (90) days.

        State Agency certification for contracts:
        1.   The requesting State Agency certifies that each of the following is true and applicable:
             a)   The program needs and general categories of services are such that adequate
                  guidelines can be developed to direct the State Agency in competitively executing a
                  number of similar contracts;
             b)   The individual contracts involved will be of such uniformity and standardization of
                  processes, procedures, and contract terms that individual, independent, and prior
                  approval is unnecessary and impractical; and
             c)   All individual contracts executed will create a "contractor" relationship as defined in
                  Central Procurement Office Policy 2013-007.
        2.   The summary cover sheet correctly records the requested delegated authority period in


                                                                                                                         2
Case 3:18-cv-01234 Document 201-19 Filed 04/13/22 Page 13 of 17 PageID #: 12309
                                                                                    Defts. Supp. Resp. 02.14.2022_002915
             which every contract must begin.
        3.   The State Agency will draft each contract either with the exact scope of services ("Scope")
             detailed in Attachment 2 or using a combination of the provisions detailed in Attachment
             2. In no event shall the Scope contain provisions that do not appear in Attachment 2. The
             State agency will draft each contract in compliance with the appropriate contract
             templates and models in effect at the time that each contract is drafted. Each contract
             must include a completed summary cover sheet attached at the front of each copy.
        4.   The State Agency will select contractors in strict accordance with the pre-defined,
             competitive process detailed in Attachment 3.
        5.   The State Agency will ensure that every contract entered into under this DA:
             a)   Has sufficient funds budgeted and available;
             b)   Complies with: Tennessee laws and regulations; Central Procurement Office rules and
                  policies; program policies, rules, and regulations; and any federal laws, rules,
                  regulations, and requirements;
             c)   Shall not create an employer/employee relationship as prohibited by Tenn. R. & Regs.
                  § 0690-03-01-.17;
             d)   Shall not procure goods, materials, supplies, equipment, or services EXCEPT as
                  provided in this DA; and
             e)   Shall not provide for the payment of any amount directly or indirectly to an employee
                  or official of the State.
        6.   The State Agency will retain records to document that every contract has been executed
             in accordance with the limits, guidelines, and conditions specified in this DA.
        7.   The State Agency will provide all such reports and information relating to the executed
             contracts under this DA as may be requested by state officials.
        8.   The State Agency shall attach a copy of the proposed contract(s) that will be used under
             the DA. If the proposed contract or contracts include modifications or additions to
             contract templates or models, redline the modifications or additions in the attachment(s)
             and include an approved Rule Exception Request ("RER").


        IN WITNESS WHEREOF, and by signature below, I certify that all information in this DA
        is, to the best of my knowledge, accurate and represents the limits, guidelines,
        conditions, and procedures that the State Agency shall follow in making each purchase
        or executing each contract.




        Tony Parker, Commissioner                                       Date




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                                                                                        ATTACHMENT 1


       AUTHORIZED PURCHASE OF GOODS OR SERVICES & MAXIMUM RATE SCHEDULE

    The rates below are maximum rates allowed, NOT standard or set rates (unless based upon federal
    government or TennCare set rates). The State Agency is encouraged to buy goods or services at
    lower rates than those below. All purchases under this DA shall comply with the vendor selection
    procedures specified in Attachment 3.



                 Good or Service                                        Maximum Rate
Travel Compensation/Reimbursement                     This Delegated Authority shall NOT authorize
(relating to authorized service delivery)             payment or reimbursement of a contractor's
                                                      travel expenses to the site where goods are
                                                      delivered or services are provided. If the State
                                                      requires that the contractor travel somewhere
                                                      other than the site where goods are delivered or
                                                      services are performed, reimbursement shall be
                                                      subject to amounts and limitations specified in
                                                      the current "State Comprehensive Travel
                                                      Regulations." Only necessary expenses
                                                      incurred away from and back to the site where
                                                      goods are delivered or services are performed
                                                      shall be reimbursable.
                                                      Note: This does NOT apply to any travel
                                                      reimbursements paid to state clients (which
                                                      may be provided for in this schedule).

Electrical Services (includes maintenance,
inspection, calibration, and testing of chair)                                  $5,000.00 per execution

Execution Security Consultation                                                 $2,500.00 per execution

Physician Fee                                                                   $3,000.00 per execution

Pharmacological Services                                                       $62,000.00 per execution

Medical Supply Vendor                                                                 $5,000.00 annually

Paramedic Services                                                              $3,000.00 per execution

Emergency Medical Technician (EMT) monthly
on-site training                                                                     $9,0000.00 annually

Media Tent Rental                                                               $1,000.00 per execution

Portable Lighting Rental                                                          $11,000 per execution

Diesel Fuel for Portable Lights                                                 $1,200.00 per execution

Portable Toilet Rental                                                          $1,000.00 per execution

Medical Supplies                                                                $1,000.00 per execution

Execution Related Supplies                                                           $10,000.00 annually

Meal Costs for Operational & Security Staff on
duty day of execution                                                           $3,000.00 per execution

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                                                                                             ATTACHMENT 2


                                CONTRACT SCOPE OF SERVICES TEXT

Insert the scope of services ("Scope") that will be used in executed contracts or identify all provisions that
will possibly appear in the Scope. If all contracts will contain the same Scope, note that below and include
the Scope in the pro forma contract attached to the DA application. There is no need to provide the Scope in
this Attachment and in the pro forma contract. If there will be a menu of scopes, identify all provisions that
will possibly appear in the Scope in this Attachment. Then leave the Scope and Section C.3.b of the pro
forma contract blank.
The Scope describes the services and deliverables that contractors must provide. It must specify all
associated functional and technical requirements. The State Agency may include payment terms outside of
Section C with an approved Rule Exception Request.
The State Agency head or designee signifies by signing this DA that all information in this DA is, to the best
of his or her knowledge, accurate and represents the limits, guidelines, conditions, and procedures that the
State Agency shall follow in executing each contract.

Scope (Contract section A)                                                    Cost (Contract section C.3.b)

Deliverable 1                                                                 $ / unit

Deliverable 2                                                                 $ / unit




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                                                                                       ATTACHMENT 3


  PRE-DEFINED VENDOR OR CONTRACTOR SELECTION PROCESS AND CONTRACT MAXIMUM
                   LIABILITY AMOUNT DETERMINATION PROCESS

    The State Agency shall select vendors or contractors in strict accordance with the pre-defined,
    competitive or otherwise approved process described below. Any selection process authorized by
    CPO rules, policies, or manuals is acceptable, though some processes will require additional
    documentation or approvals. The State Agency shall retain records to show the basis of each
    purchase made or each contract executed under this Delegated Authority, including documentation
    that each purchase or contract was made in accordance with the processes below.


The issue of capital punishment is one that often evokes strong feelings. Persons who are
involved in the process of carrying out a death sentence may potentially be subject to harassment,
retaliation, and stigma, making it difficult to obtain necessary services. Some suppliers have
refused to sell goods or services to corrections departments knowing they will be used in an
execution. The controversial nature of the task itself makes it crucial that the Warden have the
utmost confidence in each person on the execution team. For these reasons, competitive
procurement processes are inappropriate for obtaining the services required for an execution.
Persons providing services during an execution are selected by the Warden based upon criteria
including length of service, ability to maintain confidentiality, maturity, willingness to participate,
satisfactory work performance, professionalism, recommendations to the Warden, and review of
personnel files. Payment is verbally negotiated at the time of the person's selection to be a
member of the execution team.
As to pharmacological services, the specific drugs used in a lethal injection execution are
established in the Department's execution manual. Some come in a kit and must be mixed shortly
before use. The manual contains detailed instructions on the preparation of the drugs based
upon specific packaging, volume and concentration. To ensure that the drugs are consistently
obtained in the same volume and concentration and same packaging that the instructions are
based upon, the Department purchases the drugs from the same vendor each time. The current
vendor was chosen after several potential sources were contacted and no other vendor could
provide the required services.
The processes described above are consistent with the testimony presented in a recent challenge
to the State's lethal injection protocol. Based on that record, the U.S. Court of Appeals for the
Sixth Circuit held that the State's protocol does not violate the 8th Amendment. See Harbison v.
Little, 571 F.3d 531 (6th Cir. 2009). Changes to these processes may provide new avenues of
litigation and delays in executions. It may also adversely affect the Department's ability to
procure the required services.




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